Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 1 of 31 Page ID
                                  #:3484
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 2 of 31 Page ID
                                  #:3485
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 3 of 31 Page ID
                                  #:3486
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 4 of 31 Page ID
                                  #:3487
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 5 of 31 Page ID
                                  #:3488
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 6 of 31 Page ID
                                  #:3489
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 7 of 31 Page ID
                                  #:3490
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 8 of 31 Page ID
                                  #:3491
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 9 of 31 Page ID
                                  #:3492
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 10 of 31 Page ID
                                   #:3493
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 11 of 31 Page ID
                                   #:3494
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 12 of 31 Page ID
                                   #:3495
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 13 of 31 Page ID
                                   #:3496
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 14 of 31 Page ID
                                   #:3497
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 15 of 31 Page ID
                                   #:3498
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 16 of 31 Page ID
                                   #:3499
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 17 of 31 Page ID
                                   #:3500
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 18 of 31 Page ID
                                   #:3501
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 19 of 31 Page ID
                                   #:3502
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 20 of 31 Page ID
                                   #:3503
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 21 of 31 Page ID
                                   #:3504
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 22 of 31 Page ID
                                   #:3505
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 23 of 31 Page ID
                                   #:3506
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 24 of 31 Page ID
                                   #:3507
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 25 of 31 Page ID
                                   #:3508
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 26 of 31 Page ID
                                   #:3509
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 27 of 31 Page ID
                                   #:3510
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 28 of 31 Page ID
                                   #:3511
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 29 of 31 Page ID
                                   #:3512
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 30 of 31 Page ID
                                   #:3513
Case 8:19-cv-01998-JVS-JDE Document 37-12 Filed 10/21/19 Page 31 of 31 Page ID
                                   #:3514
